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                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of              Case No. 4:20-cv-5146-YGR-SVK
22    themselves and all others similarly situated,
                                                      GOOGLE       LLC’S  ADMINISTRATIVE
23           Plaintiffs,                              MOTION TO SEAL PORTIONS OF THE
                                                      JUNE 30, 2022 HEARING TRANSCRIPT RE
24                                                    DISCOVERY ISSUES
             v.
25                                                       Judge: Hon. Susan van Keulen, USMJ
      GOOGLE LLC,
26
             Defendant.
27

28
                                                                         Case No. 4:20-cv-5146-YGR-SVK
                                                      GOOGLE LLC’S ADMINISTRATIVE MOTION TO SEAL
                                                       PORTIONS OF JUNE 30, 2022 HEARING TRANSCRIPT
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 1     I.    INTRODUCTION
 2           Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Google LLC (“Google”)
 3 respectfully seeks to seal certain portions of the June 30, 2022 Hearing Transcript re: Discovery

 4 Issues (“Transcript”), which contains non-public, highly sensitive and confidential business

 5 information that could affect Google’s competitive standing and may expose Google to increased

 6 security risks if publicly disclosed, including details related to Google’s internal projects, internal

 7 databases, data signals, and logs, and their proprietary functionalities, data size, as well as internal

 8 metrics. This information is highly confidential and should be protected.

 9           This Administrative Motion pertains for the following information contained in the
10 Transcript:

11     Document                     Portions to be Filed Under Seal                      Party Claiming
                                                                                         Confidentiality
12     June 30, 2022 Hearing        Portions Highlighted in Blue at:                     Google
13     Transcript
                                    7:12, 7:17, 7:24, 8:17-18, 8:21, 9:5-12, 9:19,
14                                  10:17-21, 13:25, 14:1-12, 15:15, 15:23, 16:10-
                                    11, 16:20, 17:2, 17:25, 18:7, 18:16, 19:4,
15                                  20:12, 20:15, 21:10, 23:9-12, 25:13, 26:15,
                                    29:4, 29:25, 35:7, 35:19, 36:10, 36:15, 37:7,
16                                  38:2, 38:12-17, 40:20, 40:23, 44:23, 48:18,
17                                  49:4, 49:8, 57:18

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      II.    LEGAL STANDARD
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             The common law right of public access to judicial records in a civil case is not a
21
     constitutional right and it is “not absolute.” Nixon v. Warner Communications, Inc., 435 U.S. 589,
22
     598 (1978) (noting that the “right to inspect and copy judicial records is not absolute” and that
23
     “courts have refused to permit their files to serve as reservoirs of . . . sources of business information
24
     that might harm a litigant’s competitive standing”). Sealing is appropriate when the information at
25
     issue constitutes “competitively sensitive information,” such as “confidential research,
26
     development, or commercial information.” France Telecom S.A. v. Marvell Semiconductor Inc.,
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     2014 WL 4965995, at *4 (N.D. Cal. Oct. 3, 2014); see also Phillips v. Gen. Motors Corp., 307 F.3d
28

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 1 1206, 1211 (9th Cir. 2002) (acknowledging courts’ “broad latitude” to “prevent disclosure of

 2 materials for many types of information, including, but not limited to, trade secrets or other

 3 confidential research, development, or commercial information”).

 4 III.     THE ABOVE IDENTIFIED MATERIALS SHOULD ALL BE SEALED

 5          Courts have repeatedly found it appropriate to seal documents that contain “business
 6 information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc'ns, Inc.,

 7 435 U.S. 589, 589-99 (1978). Good cause to seal is shown when a party seeks to seal materials that

 8 “contain[] confidential information about the operation of [the party’s] products and that public

 9 disclosure could harm [the party] by disclosing confidential technical information.” Digital Reg of

10 Texas, LLC v. Adobe Sys., Inc., 2014 WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that

11 could harm a litigant’s competitive standing may be sealed even under the “compelling reasons”

12 standard. See e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL 984121, at

13 *2 (N.D. Cal. Mar. 4, 2015) (information “is appropriately sealable under the ‘compelling reasons’

14 standard where that information could be used to the company’s competitive disadvantage”)

15 (citation omitted). Courts in this district have also determined that motions to seal may be granted

16 as to potential trade secrets. See, e.g. United Tactical Sys., LLC v. Real Action Paintball, Inc.,2015

17 WL 295584, at *3 (N.D. Cal. Jan. 21, 2015) (rejecting argument against sealing “that [the party]

18 ha[s] not shown that the substance of the information . . . amounts to a trade secret”).

19          Here, the Transcript comprises confidential and proprietary information regarding highly
20 sensitive features of Google’s internal systems and operations that Google does not share

21 publicly. Specifically, this information provides details related to Google’s internal projects,

22 internal databases, data signals, and logs, and their proprietary functionalities, data size, as well as

23 internal metrics. Such information reveals Google’s internal strategies, system designs, and business

24 practices for operating and maintaining many of its important services while complying with its

25 legal and privacy obligations.

26          Public disclosure of the above-listed information would harm Google’s competitive standing
27 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of

28 Google’s proprietary systems, strategies, and designs to Google’s competitors. That alone is a proper
                                                      2                   Case No. 4:20-cv-5146-YGR-SVK
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 1 basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-cv-02329-

 2 BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal certain

 3 sensitive business information related to Google’s processes and policies to ensure the integrity and

 4 security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co., No. 3:16-cv-

 5 02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales data because

 6 “disclosure would harm their competitive standing by giving competitors insight they do not have”);

 7 Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8, 2013) (granting

 8 motion to seal as to “internal research results that disclose statistical coding that is not publically

 9 available”).

10          Moreover, if publicly disclosed, malicious actors may use such information to seek to

11 compromise Google’s data sources, including data logs, internal data structures, and internal

12 identifier systems. Google would be placed at an increased risk of cyber security threats. See, e.g.,

13 In re Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing

14 “material concern[ing] how users’ interactions with the Gmail system affects how messages are

15 transmitted” because if made public, it “could lead to a breach in the security of the Gmail system”).

16 The security threat is an additional reason for this Court to seal the identified information.

17          The information Google seeks to redact, including the various types of data sources which

18 include information related to Google’s internal projects, internal databases, data signals, and logs,

19 and their proprietary functionalities, data size, as well as internal metrics, is the minimal amount of

20 information needed to protect its internal systems and operations from being exposed to not only its

21 competitors but also to nefarious actors who may improperly seek access to and disrupt these

22 systems and operations. The “good cause” rather than the “compelling reasons” standard should

23 apply but under either standard, Google’s sealing request is warranted.

24   IV.    CONCLUSION

25          For the foregoing reasons, the Court should seal the identified portions of Transcript.
26

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